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-v- 2;04cR20019-01-D `*”""D~ @F "`!' "M"“"°H"”

RONN|E TRAV|S RAY
J. Patten Brown FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Counts 1,2,3,4, & 5 of the indictment on October 14,

2004. Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Na_fle£fM Offense _NLberj§j
Concluded
18 U.S.C. § 2252(a)(4)(B) Possession of Child Pornography 01/11/2004 1
18 U.S.C. § 2252(a)(1) Transportation of Child Pornography 11/18/2003 2
18 U.S.C. § 2251(a) Sexuai Exp|oitation of Chi|dren 10/30/2003 3,4,5

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/iandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/25/1949 Aprii 15, 2005

Deft’s U.S. l\/larshal No.: 61625-097

. BERN|CE B. DONALD
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Defendant’s l\/lailing Address:
3803 Given, No. 6
i\/|emphis, TN 38122 rrb/80

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Case No: 2:O4CR20019-01 Defendant Name: Ronnie Travis RAY Page 2 of 5
IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned as to Count 1 of the lndictment, a term of 180 months (15
years); as to Count 2 of the lndictment, a term of 300 months (25 years); and as to

Counts 3-5 of the lndictment, a term of 600 months (50 years) to run concurrently with
all counts for a total term of 600 Months (50 years).

The defendant is remanded to the custody of the United States lVlarshaI.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES l\/IARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 2:04CR20019-01 Defendant Name: Ronnie Travis RAY Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinaiysis tests as
directed by the probation officer to determine the use of any controlled substance;

?. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20019-01 Defendant Name: Ronnie Travis RAY Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Pena|ties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall cooperate with DNA collection as directed by the Probation Officer;

The defendant's employment and change of address must be approved by the Probation
Officer;

The defendants place of residence may not be close in proximity to parks, playgrounds,
public pools, or other locations frequented by children;

The defendant may not directly or indirectly have contact with any child under age 18; may
not reside with any child under age 18; and may not |oiter near school yards, playgrounds, swimming
pools, arcades, or other places frequented by children;

The defendant must participate in specialized sex offender treatment program that may
include use of a plethysmograph and polygraph;

The defendant may not possess any pornography;

The defendant may not use sexually oriented telephone numbers or services;

The defendant must abide by an evening curfew as set by the Probation Officer;

The defendant shall not possess, or use, a computer with access to any “on line computer
service" at any location (including employment) without the prior approval of the Probation Officer.
This includes any internet service provider, bulletin board system, or any other public or private
network or e-mail system.

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Case No: 2:04CR20019-01 Defendant Name: Ronnie Travis RAY Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$500.00

The Specia| Assessment shall be due immediately
FlNE
No fine imposed .

REST|TUTION

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:04-CR-200]9 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St

Ste. 800

Memphis7 TN 38103

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

J. Patten Brovvn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

